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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF KANSAS

COMBINED INSURANCE COMPANY OF )
AMERICA,                          )
                                  )
          Plaintiff,              )
                                  )
vs.                               )
                                  )                    Case No.
KELLY LANGDON, F/K/A KELLY        )
COMBS, MILES COMBS, J.C, a minor, )
LUCAS GOSS, KOURTNEY GOSS, and    )
GARNAND FUNERAL HOME, INC.,       )
                                  )
          Defendants.             )


                               COMPLAINT IN INTERPLEADER

       Plaintiff/Stakeholder Combined Insurance Company of America (“Combined”), for its

Complaint in Interpleader pursuant to 28 U.S.C. § 1335 and Rule 22 of the Federal Rules of Civil

Procedure against Defendants/Claimants Kelly Langdon, f/k/a Kelly Combs, Miles Combs, J.C.,

a minor, Lucas Goss, Kourtney Goss, and Garnand Funeral Home, Inc. (collectively

“Defendants”), states as follows:

                                 Parties, Jurisdiction, and Venue

       1.      Combined is an Illinois corporation duly authorized to do business in the State of

Kansas. Combined’s state of incorporation and principal place of business is Illinois and,

therefore, Combined is a citizen of Illinois.

       2.      Upon information and belief, Defendant Kelly Langdon f/k/a Kelly Combs resides

in Garden City, Kansas, and is therefore a citizen of the State of Kansas.

       3.      Upon information and belief, Defendant Miles Combs resides in Garden City,

Kansas, and is therefore a citizen of the State of Kansas.

       4.      Upon information and belief, Defendant J.C. resides in Garden City, Kansas, and
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is therefore a citizen of the State of Kansas.

       5.      Upon information and belief, Defendant Lucas Goss resides in Garden City,

Kansas, and is therefore a citizen of the State of Kansas.

       6.      Upon information and belief, Defendant Kourtney Goss resides in Independence,

Missouri, and is therefore a citizen of the State of Missouri.

       7.      Upon information and belief, Defendant Garnand Funeral Home, Inc. (“Garnand”)

is a Kansas corporation with its principal place of business in Garden City, Kansas. Therefore,

Garnand is a citizen of the State of Kansas.

       8.      This Court has original jurisdiction pursuant to 28 U.S.C. § 1335 in that at least two

of the Defendants are citizens of different states and the amount Combined seeks to deposit with

the court exceeds $500.00.

       9.      This Court has original jurisdiction pursuant to 28 U.S.C. § 1332 and Rule 22 of

the Federal Rules of Civil Procedure in that Combined is diverse from each defendant and the

amount in controversy/amount Combined seeks to deposit with the Court exceeds $75,000.00.

       10.     Venue is proper in the District of Kansas pursuant to 28 U.S.C. § 1391 and 1397 in

that at least one of the Defendants/Claimants reside within this district.

                                      Action in Interpleader

       11.     Combined issued two whole life insurance policies to Wayne A. Combs

(“Insured”).

       12.     Combined issued the first whole life insurance policy, policy number 7FJ94129,

which provided $70,000.00 in life insurance coverage (as well as an additional benefit for

accidental death, which is not relevant here) on March 5, 2007 (the “2007 Policy”). A true and

accurate copy of the relevant portions of the 2007 Policy is attached as Exhibit A.



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       13.      Combined issued the second whole life insurance policy, policy number 7FP91844,

which provided $50,000.00 in life insurance coverage (as well as additional benefits for accidental

death, and coverage for the Insured’s children, none of which is relevant here) on January 5, 2010

(the “2010 Policy”). A true and accurate copy of the relevant portions of the 2010 Policy is

attached as Exhibit B.

       14.      In his application for the 2007 Policy, the Insured designated his then spouse, Kelly

Combs (now known as Kelly Langdon), as the primary beneficiary. The Insured did not name a

contingent beneficiary. A true and accurate copy of the application for the 2007 Policy is attached

as Exhibit C.

       15.      In the 2010 Policy, the Insured again designated Kelly Combs as the primary

beneficiary. The Insured designated his son, Miles Combs, as the contingent beneficiary. A true

and accurate copy of the application for the 2010 Policy is attached as Exhibit D.

       16.      Although the Insured requested change of beneficiary forms from Combined in

2016 and 2022, the Insured never returned these forms to designate new beneficiaries for the 2007

Policy or the 2010 Policy (collectively “the Policies”),

       17.      Upon information and belief, the Insured and Kelly Combs divorced in 2016. On

or about March 18, 2016, a decree of divorce was entered in the District Court of Finney County,

Kansas, case number 13-DM-414. A copy of the decree of divorce is attached as Exhibit E.

       18.      Upon information and belief, the Finney County District Court entered an order in

the divorce proceedings changing Kelly Combs’ surname back to her former surname “Langdon.”

       19.      Upon information and belief, on February 22, 2017, the Finney County District

Court entered a memorandum decision in the divorce proceedings addressing how to distribute the

Insured and Kelly Langdon’s assets in the divorce. A copy of the Memorandum Decision is



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attached as Exhibit F.

          20.    Upon information and belief, the Insured never remarried after he and Kelly

Langdon divorced.

          21.    Upon information and belief, the Insured died of natural causes on November 16,

2023. A copy of the Certificate of Death is attached as Exhibit G.

          22.    Upon the Insured’s death, life benefits in the total amount $120,000.00 became

payable to the proper beneficiaries or heirs under the Policies.

          23.    Upon information and belief, the Insured was survived by his ex-spouse Kelly

Langdon, his mother Arlene Rupp Rowley, his stepmother Beverly Combs, his biological children

Miles Combs and J.C., his spouse’s children from a prior marriage Lucas Goss and Kourtney Goss,

and other extended family.

          24.    Upon information and belief, the Insured’s heirs include his biological children

Miles Combs and J.C.

          25.    Combined has no information regarding whether the Insured ever adopted Lucas

Goss or Kourtney Goss, and whether they qualify as the Insured’s “Children” under K.S.A. § 59-

501(a).

          26.    Upon information and belief, Defendant Garnand Funeral Home provided funeral

services for the Insured in the amount of $24,800.95. Garnand submitted a claim to Combined for

the funeral expenses, and that claim was assigned Claim Number 29037017.

          27.    On July 1, 2019, K.S.A. § 59-105 (“Revocation of spousal inheritance rights upon

divorce”) went into effect. That statute provides, in relevant part:

          (b) On and after July 1, 2019, except as provided by the express terms of a
          governing instrument, a court order or contract relating to the division of the marital
          estate made between the divorced individuals before or after the marriage, divorce
          or annulment, the divorce or annulment of a marriage:

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                (1) Revokes any revocable:

                       (A) Disposition or appointment of property made by a divorced
                           individual to such individual’s former spouse in a governing
                           instrument . . .

       28.      K.S.A. § 59-105 further provides the following relevant definitions:

       (4) “Governing instrument” means a document executed by the divorced individual
       before the divorce or annulment of such individual's marriage to such individual’s
       former spouse.

       …

       (6) “Revocable,” with respect to a disposition, appointment, provision or
       nomination, means one under which the divorced individual, at the time of the
       divorce or annulment, was alone empowered, by law or under the governing
       instrument, to cancel the designation in favor of such individual's former spouse or
       former spouse’s relative, whether or not the divorced individual was then
       empowered to designate such individual's self in place of such individual's former
       spouse or in place of such individual’s former spouse's relative and whether or not
       the divorced individual then had the capacity to exercise the power.

       29.      The potential application of K.S.A. § 59-105 creates uncertainty for Combined as

to whether Kelly Langdon, as the primary beneficiary, retained any rights to the proceeds under

the Policies.

       30.      With respect to the 2007 Policy, Kelly Langdon and Miles Combs may have

competing and adverse claims/potential claims to the proceeds payable under that policy.

       31.      With respect to the 2010 Policy, Kelly Langdon and the Insured’s heirs or estate

may have competing and adverse claims/potential claims to the proceeds payable under that policy.

       32.      Upon information and belief, an estate has not been opened for the Insured, and the

time for opening such an estate has passed.

       33.      Upon information and belief, the Insured’s heirs include his natural children, Miles

Combs and J.C. Upon information and belief, J.C. is a minor.



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        34.     Upon information and belief, the Insured’s heir may include Lucas Goss and/or

Kourtney Goss.

        35.     Additionally, Garnand Home Funeral, Inc. may also have an adverse and competing

claim to the Policies’ proceeds.

        36.     The claims and potential claims by Defendants are adverse and competing.

        37.     Combined has no interest in the proceeds payable under the Policies and is merely

an innocent stakeholder wishing to discharge its obligations under the Policies and deliver the

proceeds of the Policies to the party or parties entitled to receive them.

        38.     Combined files this Complaint in Interpleader of its own free will to avoid multiple

liability, multiple litigation, or both.

        39.     Combined is ready, willing, and able to pay the proceeds of the Policies to the party

or parties entitled to receive them. Accordingly, Combined unconditionally tenders and offers to

deposit with the Court, or as this Court otherwise directs, the proceeds of the Policies, plus any

applicable interest.

        40.     Until this Court rules on the issue of the manner in which the proceeds of the

Policies should be distributed, Combined cannot safely determine the proper recipient of the

proceeds without risking exposure to double, multiple, or inconsistent liabilities.

        41.     Combined is a disinterested stakeholder and is entitled to recover its costs and

reasonable attorney fees incurred in bringing this instant action.

        WHEREFORE, Combined prays for a judgment:

        a.      Permitting Combined to deposit the benefits payable under the Policies, plus any

applicable interest, into the Registry of this Court, or as this Court otherwise directs, in full and

final satisfaction of Combined’s obligations under the Policies, to be subject to the Order of this



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Court and to be paid out as the Court shall direct;

       b.      Restraining each of the Defendants by Order and Injunction of this Court from

instituting any action against Combined for recovery of the proceeds of the Policies payable by

reason of the death of the Insured;

       c.      Requiring each of the Defendants to answer this Complaint in Interpleader and

litigate their claims among themselves for the subject proceeds in this action;

       d.      Discharging Combined from any further liability upon payment of the

aforementioned proceeds into the Registry of this Court, or as otherwise directed by the Court;

       e.      Awarding Combined its costs and attorney fees incurred in connection with

bringing this action and ordering that such costs and attorney fees be paid out of the proceeds of

the Policy prior to distribution to the party or parties adjudged to be entitled to the proceeds; and

       f.      Awarding Combined such other and further relief as this Court deems just,

equitable, and proper.




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                              Respectfully submitted,

                              ARMSTRONG TEASDALE LLP


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